Exhibit 1
                             Inflation Adjustments to the Civil Monetary Penalties
                Administered by the Securities and Exchange Commission (as of January 15, 2020)

                                                                       Date of Violation and Corresponding Penalty

                                                           Dec. 10,    Feb. 3,     Feb. 15,     Mar. 4,     Mar. 6,
                                                                                                                         Nov. 3,
                           Civil monetary penalty          1996—       2001—       2005—        2009—       2013—
  U.S. Code citation                                                                                                     2015—
                                description                Feb. 2,     Feb 14,     Mar. 3,      Mar. 5,     Nov. 2,
                                                                                                                        Presentvi
                                                            2001i       2005ii      2009iii     2013iv       2015v

15 U.S.C. 77h-1(g)     For natural person                       N/A         N/A         N/A     $7,500vii      $7,500      $8,824
(Securities Act Sec.   For any other person                     N/A         N/A         N/A     75,000vii      80,000      88,248
8A(g))                 For natural person / fraud               N/A         N/A         N/A     75,000vii      80,000      88,248
                       For any other person / fraud             N/A         N/A         N/A    375,000vii     400,000     441,240
                       For natural person / fraud /
                       substantial losses or risk of            N/A         N/A         N/A    150,000vii     160,000     176,496
                       losses to others or gains to self
                       For any other person / fraud /
                       substantial losses or risk of            N/A         N/A         N/A    725,000vii     775,000     853,062
                       losses to others or gain to self
15 U.S.C. 77t(d)
                       For natural person                     $5,500      $6,500      $6,500       7,500        7,500       9,639
(Securities Act Sec.
20(d))                 For any other person                  55,000       60,000      65,000      75,000       80,000      96,384
                       For natural person / fraud            55,000       60,000      65,000      75,000       80,000      96,384
                       For any other person / fraud         275,000      300,000     325,000     375,000      400,000     481,920
                       For natural person / fraud /
                       substantial losses or risk of        110,000      120,000     130,000     150,000      160,000     192,768
                       losses to others
                       For any other person / fraud /
                       substantial losses or risk of        550,000      600,000     650,000     725,000      775,000     963,837
                       losses to others

                                                                 1
15 U.S.C. 78u(d)(3)       For natural person                     5,500       6,500       6,500       7,500       7,500       9,639
(Exchange Act Sec.        For any other person                  55,000      60,000      65,000      75,000      80,000      96,384
21(d)(3))                 For natural person / fraud            55,000      60,000      65,000      75,000      80,000      96,384
                          For any other person / fraud         275,000     300,000     325,000     375,000     400,000     481,920
                          For natural person / fraud /
                          substantial losses or risk of        110,000     120,000     130,000     150,000     160,000     192,768
                          losses to others or gains to self
                          For any other person / fraud /
                          substantial losses or risk of        550,000     600,000     650,000     725,000     775,000     963,837
                          losses to others or gain to self
15 U.S.C. 78u-1(a)(3)
                          Insider Trading – controlling
(Exchange Act Sec.                                            1,100,000   1,200,000   1,275,000   1,425,000   1,525,000   2,140,973
                          person
21A(a)(3))
15 U.S.C. 78u-2           For natural person                     5,500       6,500       6,500       7,500       7,500       9,639
(Exchange Act Sec.        For any other person                  55,000      60,000      65,000      75,000      80,000      96,384
21B)                      For natural person / fraud            55,000      60,000      65,000      75,000      80,000      96,384
                          For any other person / fraud         275,000     300,000     325,000     375,000     400,000     481,920
                          For natural person / fraud /
                          substantial losses or risk of        110,000     120,000     130,000     150,000     160,000     192,768
                          losses to others
                          For any other person / fraud /
                          substantial losses or risk of        550,000     600,000     650,000     725,000     775,000     963,837
                          losses to others
15 U.S.C. 78ff(b)
                          Exchange Act / failure to file
(Exchange Act Sec.                                                 110         110         110         110         210         569
                          information documents, reports
32(b))
15 U.S.C. 78ff(c)(1)(B)
                          Foreign Corrupt Practices – any
(Exchange Act Sec.                                              11,000      11,000      11,000      16,000      16,000      21,410
                          issuer
32(c)(1)(B))
15 U.S.C. 78ff(c)(2)(B)   Foreign Corrupt Practices – any
(Exchange Act Sec.        agent or stockholder acting on        11,000      11,000      11,000      16,000      16,000      21,410
32(c)(2)(B))              behalf of issuer

                                                                   2
15 U.S.C. 80a-9(d)     For natural person                    5,500     6,500     6,500     7,500     7,500     9,639
(Investment Company    For any other person                 55,000    60,000    65,000    75,000    80,000    96,384
Act Sec. 9(d))         For natural person / fraud           55,000    60,000    65,000    75,000    80,000    96,384
                       For any other person / fraud        275,000   300,000   325,000   375,000   400,000   481,920
                       For natural person / fraud /
                       substantial losses or risk of       110,000   120,000   130,000   150,000   160,000   192,768
                       losses to others or gains to self
                       For any other person / fraud /
                       substantial losses or risk of       550,000   600,000   650,000   725,000   775,000   963,837
                       losses to others or gain to self
15 U.S.C. 80a-41(e)    For natural person                    5,500     6,500     6,500     7,500     7,500     9,639
(Investment Company    For any other person                 55,000    60,000    65,000    75,000    80,000    96,384
Act Sec. 42(e))        For natural person / fraud           55,000    60,000    65,000    75,000    80,000    96,384
                       For any other person / fraud        275,000   300,000   325,000   375,000   400,000   481,920
                       For natural person / fraud /
                       substantial losses or risk of       110,000   120,000   130,000   150,000   160,000   192,768
                       losses to others
                       For any other person / fraud /
                       substantial losses or risk of       550,000   600,000   650,000   725,000   775,000   963,837
                       losses to others
15 U.S.C. 80b-3(i)     For natural person                    5,500     6,500     6,500     7,500     7,500     9,639
(Investment Advisers   For any other person                 55,000    60,000    65,000    75,000    80,000    96,384
Act Sec. 203(i))       For natural person / fraud           55,000    60,000    65,000    75,000    80,000    96,384
                       For any other person / fraud        275,000   300,000   325,000   375,000   400,000   481,920
                       For natural person / fraud /
                       substantial losses or risk of       110,000   120,000   130,000   150,000   160,000   192,768
                       losses to others or gains to self
                       For any other person / fraud /
                       substantial losses or risk of       550,000   600,000   650,000   725,000   775,000   963,837
                       losses to others or gain to self
                       For natural person                    5,500     6,500     6,500     7,500     7,500     9,639

                                                              3
15 U.S.C. 80b-9(e)            For any other person                         55,000             60,000           65,000          75,000           80,000          96,384
(Investment Advisers          For natural person / fraud                   55,000             60,000           65,000          75,000           80,000          96,384
Act Sec. 209(e))              For any other person / fraud                275,000            300,000          325,000         375,000          400,000         481,920
                              For natural person / fraud /
                              substantial losses or risk of               110,000            120,000          130,000         150,000          160,000         192,768
                              losses to others
                              For any other person / fraud /
                              substantial losses or risk of               550,000            600,000          650,000         725,000          775,000         963,837
                              losses to others
15 U.S.C.                     For natural person                               N/A         100,000viii        110,000         120,000          130,000         141,943
7215(c)(4)(D)(i)
(Sarbanes-Oxley Act           For any other person                             N/A      2,000,000viii      2,100,000        2,375,000       2,525,000        2,838,885
Sec. 105(c)(4)(D)(i))
15 U.S.C.                     For natural person                               N/A         750,000viii        800,000         900,000          950,000       1,064,582
7215(c)(4)(D)(ii)
(Sarbanes-Oxley Act           For any other person                             N/A 15,000,000viii         15,825,000       17,800,000      18,925,000      21,291,632
Sec. 105(c)(4)(D)(ii))


  i
     Release Nos. 33-7361, 34-37912, IA-1596, IC-22310, dated November 1, 1996 (effective December 9, 1996), previously found at 17 CFR 201.1001 and Table I
  to Subpart E of Part 201.
  ii
      Release Nos. 33-7946, 34-43897, IA-1921, IC-24846, dated January 31, 2001 (effective February 2, 2001), previously found at 17 CFR 201.1002 and Table II
  to Subpart E of Part 201.
  iii
      Release Nos. 33-8530, 34-51136, IA-2348, IC-26748, dated February 9, 2005 (effective February 14, 2005), previously found at 17 CFR 201.1003 and Table
  III to Subpart E of Part 201.
  iv
      Release Nos. 33-9009, 34-59449, IA-2845, IC-28635, dated February 25, 2009 (effective March 3, 2009), previously found at 17 CFR 201.1004 and Table IV
  to Subpart E of Part 201.
  v
      Release Nos. 33-9387, 34-68994, IA-3557, IC-30408, dated February 27, 2013 (effective March 5, 2013), previously found at 17 CFR 201.1005 and Table V to
  Subpart E of Part 201.
  vi
      Release Nos. 33-10740, 34-87905, IA-5428, IC-33740, dated January 8, 2020 (effective January 15, 2020). The adjusted penalty amounts in this release apply
  to all penalties imposed after January 15, 2020, for violations that occurred after November 2, 2015.
  vii
       Effective from July 21, 2010 (enactment of the Dodd-Frank Wall Street Reform and Consumer Protection Act, Pub. L. 111-203), through March 5, 2013.
  viii
       Effective from July 30, 2002 (enactment of the Sarbanes-Oxley Act of 2002, Pub. L. 107-204), through February 14, 2005.




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